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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
ATLANTICA HOLDINGS, INC. et al.,                                       :
                                                                       :                   02/15/2018
                                    Plaintiffs,                        :
                                                                       :
                  -v-                                                  :
                                                                       :
SOVEREIGN WEALTH FUND SAMRUK-KAZYNA :                                       12-CV-8852 (JMF)
JSC,                                                                   :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X
                                                                       :
ATLANTICA HOLDINGS, INC. et al.,                                       :
                                                                       :    13-CV-5790 (JMF)
                                    Plaintiffs,                        :
                                                                       :
                  -v-                                                  :
                                                                       :
BTA BANK JSC,                                                          :   OPINION AND ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        In these cases, familiarity with which is presumed, three American citizens (the

“American Plaintiffs”) and three Panamanian corporations (the “Foreign Plaintiffs” and, together

with the American Plaintiffs, “Plaintiffs”) bring securities-fraud claims against BTA Bank JSC

(“BTA Bank” or the “Bank”), a bank in the Republic of Kazakhstan, and Sovereign Wealth Fund

Samruk-Kazyna (“S-K Fund” or the “Fund”), which is owned and operated by the Republic of

Kazakhstan and the majority shareholder of BTA Bank. In prior opinions, one of which was

affirmed on interlocutory appeal, this Court held that it had subject-matter jurisdiction over the

claims against the S-K Fund pursuant to the commercial-activity exception to the Foreign
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Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1605, and personal jurisdiction over both

Defendants. See Atlantica Holdings, Inc. v. Sovereign Wealth Fund Samruk-Kazyna JSC

(“Atlantica I”), 2 F. Supp. 3d 550, 556-59 & n.5 (S.D.N.Y. 2014), aff’d, 813 F.3d 98 (2d Cir.),

cert. denied, 137 S. Ct. 493 (2016); Atlantica Holdings, Inc. v. BTA Bank JSC (“Atlantica II”),

No. 13-CV-5790 (JMF), 2015 WL 144165, at *4-5 (S.D.N.Y. Jan. 12, 2015). 1 Defendants now

seek to revisit those decisions (albeit only with respect to the claims brought by the Foreign

Plaintiffs), citing — in one motion styled a motion for reconsideration (12-CV-8852, Docket No.

111) and another styled a “renewed” motion to dismiss (12-CV-8852, Docket No. 107) — the

Supreme Court’s decision in Bristol-Myers Squibb Co. v. Superior Court of Cal. (“BMS”), 137 S.

Ct. 1773 (2017).

       For the reasons explained below, both motions are DENIED.

                            SUBJECT-MATTER JURISDICTION

       First, S-K Fund’s effort to revisit the question of subject-matter jurisdiction is plainly

without merit. The “mandate rule,” a branch of the law-of-the-case doctrine, generally requires a

district court to “follow an appellate court's previous ruling on an issue in the same case.”

United States v. Quintieri, 306 F.3d 1217, 1225 (2d Cir. 2002). That is, barring exceptional

circumstances, the rule “compels compliance on remand with the dictates of the superior court

and forecloses relitigation of issues expressly or impliedly decided by the appellate court.”

United States v. Ben Zvi, 242 F.3d 89, 95 (2d Cir. 2001) (emphasis in original) (quoting United

States v. Bell, 5 F.3d 64, 66 (4th Cir. 1993)). A district court “may . . . possess some limited

discretion to reopen” an issue decided by an appellate court “in very special situations.” United


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     In another opinion, not relevant here, the Court later denied Defendants’ motions for
summary judgment. Atlantica Holdings, Inc. v. BTA Bank JSC, No. 12-CV-8852 (JMF), 2017
WL 3731948 (S.D.N.Y. Aug. 29, 2017).

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States v. Bell, 988 F.2d 247, 251 (1st Cir. 1993). “At a minimum,” however, “reopening would

require a showing of exceptional circumstances — a threshold which, in turn, demands that the

proponent accomplish one of three things: show that controlling legal authority has changed

dramatically; proffer significant new evidence, not earlier obtainable in the exercise of due

diligence; or convince the court that a blatant error in the prior decision will, if uncorrected,

result in a serious injustice.” Id.; accord United States v. Garcia-Ortiz, 792 F.3d 184, 189 (1st

Cir. 2015); United States v. Pileggi, 703 F.3d 675, 681-82 (4th Cir. 2013); see also Banco

Nacional de Cuba v. Farr, 383 F.2d 166, 178 (2d Cir. 1967). As the First Circuit has put it,

“[t]he litany of exceptional circumstances sufficient to sidetrack the [mandate rule] is not only

short, but narrowly cabined.” United States v. Rivera-Martinez, 931 F.2d 148, 151 (1st Cir.

1991).

         In this case, S-K Fund makes no bones about the fact that it seeks to relitigate the precise

issue decided by the Second Circuit on appeal — namely, whether Plaintiffs’ claims fall within

the “direct-effect clause” of the FSIA’s commercial-activity exception. See 28 U.S.C.

§ 1605(a)(2) (providing that a foreign state is not immune from suit in actions “based upon” the

state's commercial activity outside the United States that has a “direct effect” in the United

States); Atlantica Holdings, 813 F.3d at 106-16 (holding that Plaintiff’s claims fall within the

“direct-effects clause” of the commercial-activity exception). What is more, the Fund does so by

pressing arguments that were presented to, and explicitly rejected by, the Second Circuit. The

Second Circuit held, for example, that “the premise of SK Fund's argument — that Plaintiffs

must demonstrate a direct effect on themselves in the United States to overcome FSIA immunity

— is incorrect; the FSIA requires only that SK Fund's alleged misrepresentations had a direct

effect in the United States.” 813 F.3d at 111. Calling that conclusion “wrong,” S-K Fund here



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puts forward the exact same premise yet again. (See, e.g., 12-CV-8852, Docket No. 108 (“S-K

Fund Mem.”), at 14 (“[T]he ‘direct effect’ clause must be construed to require a ‘direct effect’ on

the plaintiff in the United States.”)). The mandate rule bars such efforts to reopen settled issues.

       S-K Fund conspicuously fails to mention the mandate rule, let alone explain how its

arguments can be squared with the rule. The closest it comes is to recite the truism that “subject

matter jurisdiction is an issue that may be raised at any time.” (Id. at 8). But to say that a party

may “raise” the issue of subject-matter jurisdiction “at any time” is not to say that the party can

re-raise the issue if a higher court has resolved it adversely. Citing an Eleventh Circuit decision

in a footnote, S-K Fund also contends that “courts have granted renewed motions to dismiss for

lack of subject matter jurisdiction under the FSIA even where the court of appeals previously

ruled against the foreign sovereign defendant on the issue of jurisdictional immunity under

FSIA.” (Id. at 8 n.5 (citing Guevara v. Republic of Peru, 608 F.3d 1297, 1305 (11th Cir. 2010)).

But the Eleventh Circuit’s decision is the exception that proves the rule: It entertained the new

challenge only after determining that its prior decision actually “left open” the “issues” raised in

the new appeal as well as the ultimate “question of whether the district court had subject matter

jurisdiction.” Guevara, 608 F.3d at 1306-07; see also Flame S.A. v. Freight Bulk Pte. Ltd., 807

F.3d 572, 579-80 (4th Cir. 2015) (declining to apply the mandate rule to preclude a challenge to

subject-matter jurisdiction despite a prior ruling that subject-matter jurisdiction existed where

“the substantive questions” analyzed in the first ruling were “distinct” and “different from” the

appellant’s new arguments). S-K Fund does not cite, and this Court has not found, any case

allowing a renewed challenge to subject-matter jurisdiction where, as here, the precise arguments

were previously made to, and rejected by, a higher court. That court may have the prerogative to

reconsider its own prior ruling, but this Court — as a lower federal court — plainly does not.



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       Nor does BMS allow S-K Fund to get its proverbial foot in the door. As noted, the Court

arguably could revisit the issue of subject-matter jurisdiction, despite the Circuit’s decision, if S-

K Fund were able to “show that controlling legal authority has changed dramatically.” Bell, 988

F.2d at 251. But it can do no such thing, for two independent reasons. First, BMS does not

constitute “controlling” legal authority with respect to the question of subject-matter jurisdiction.

For one thing, BMS addressed the issue of personal jurisdiction, not subject-matter jurisdiction.

See 137 S. Ct. at 1779-80. For another, the Supreme Court limited its holding to state-court

cases and the Fourteenth Amendment, and expressly left “open the question whether the Fifth

Amendment imposes the same restrictions on the exercise of personal jurisdiction by a federal

court.” Id. at 1784. A decision leaving an issue open cannot be described as “controlling” with

respect to that issue. See, e.g., Lyda v. FremantleMedia N. Am., Inc., No. 10-CV-4773 (DAB),

2013 WL 4756620, at *2 (S.D.N.Y. Aug. 26, 2013) (holding that a Second Circuit decision did

not constitute an “intervening change in controlling law” where the Court “consciously avoided

ruling” on the relevant issue). Second, and in any event, BMS did not change the law, and

certainly did not do so “dramatically.” Indeed, the Supreme Court itself stressed that the case

involved only the “straightforward application . . . of settled principles.” 137 S. Ct. at 1783; see

id. at 1781 (“Our settled principles regarding specific jurisdiction control this case.”).

“[S]traightforward application . . . of settled principles” is not the stuff of which drama is made.

Accordingly, BMS provides no cause to evade the mandate rule.

       In fact, for those reasons, this Court could not grant S-K Fund the relief it seeks even if it

were not constrained by the law of the case. As a lower court, this Court is required to follow

Second Circuit precedent “unless and until it is overruled in a precedential opinion by the Second

Circuit itself or unless a subsequent decision of the Supreme Court so undermines it that it will



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almost inevitably be overruled by the Second Circuit.” United States v. Diaz, 122 F. Supp. 3d

165, 179 (S.D.N.Y. 2015) (internal quotation marks omitted). Thus, if the law-of-the-case

doctrine did not apply (as it does), “[t]he precise question for this Court” would not be “whether,

by its own analysis,” BMS calls for a different result than that reached by the Second Circuit in

the interlocutory appeal. United States v. Emmenegger, 329 F. Supp. 2d 416, 429 (S.D.N.Y.

2004). Instead, it would be whether BMS “so conclusively supports that finding that the Second

Circuit or the Supreme Court is all but certain to overrule” its prior decision. Id.; see also

Monsanto v. United States, 348 F.3d 345, 351 (2d Cir. 2003) (noting that district courts and the

Second Circuit itself are “required to follow” a Second Circuit decision, even if it is in “tension”

with subsequent Supreme Court precedent, “unless and until that case is reconsidered by [the

Second Circuit] sitting in banc (or its equivalent) or is rejected by a later Supreme Court

decision”); United States v. Wong, 40 F.3d 1347, 1373 (2d Cir. 1994) (“[U]ntil the Supreme

Court rules otherwise, the district court would be obliged to follow our precedent, even if that

precedent might be overturned in the near future.”). S-K Fund does not even come close to

meeting that more lenient standard.

                                  PERSONAL JURISDICTION

       Defendants are on firmer ground in seeking to revisit the question of whether exercising

personal jurisdiction over them would be consistent with due process, if only because the Second

Circuit did not reach the issue, see Atlantica Holdings, 813 F.3d 116-17 (declining to exercise

pendent appellate jurisdiction over S-K Fund’s challenge to personal jurisdiction), and because

BMS actually involved personal jurisdiction. 2 Given that the Second Circuit has not spoken on



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         Defendants do not seek to revisit the Court’s determination that it can exercise personal
jurisdiction over S-K Fund as a statutory matter. Nor could they, as the FSIA provides that
district courts have personal jurisdiction over any “foreign state” (including any instrumentality
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the issue in this litigation, Defendants’ arguments implicate “[t]he second and more flexible

branch” of the law-of-the-case doctrine. Quintieri, 306 F.3d at 1225. As a general matter, that

branch provides that a court should adhere “to its own decision at an earlier stage of the

litigation.” Ben Zvi, 242 F.3d at 95 (quoting United States v. Tenzer, 213 F.3d 34, 39 (2d. Cir.

2000)). A court has discretion to revisit an issue, however, “for cogent or compelling reasons,”

such as “an intervening change in law, availability of new evidence, or the need to correct a clear

error or prevent manifest injustice.” Johnson v. Holder, 564 F.3d 95, 99-100 (2d Cir. 2009)

(internal quotation marks omitted). Nevertheless, even when applying this “more flexible” rule,

“[a] court should be loathe to revisit an earlier decision in the absence of extraordinary

circumstances.” N. River Ins. Co. v. Phila. Reins. Corp., 63 F.3d 160, 165 (2d Cir. 1995)

(internal quotation marks omitted).

       In light of the Supreme Court’s own observation that BMS involved the “straightforward

application . . . of settled principles,” 137 S. Ct. at 1783, Defendants face an uphill climb in

arguing that the decision constitutes an “intervening change in law” sufficient to warrant

reconsideration. They fall short. BMS involved a group of plaintiffs, some from California and

some from other states, suing Bristol-Myers Squibb for harms caused by its drug, Plavix. BMS,

137 S. Ct. at 1778. On certiorari, the Supreme Court held that the Due Process Clause of the

Fourteenth Amendment prohibited the state courts from exercising personal jurisdiction over

out-of-state plaintiffs whose claims had no connection to the defendant’s conduct in California.

Id. at 1781-84. The Supreme Court concluded that in order for a court to exercise specific



of a foreign state, such as S-K Fund) whenever one of the Section 1605(a) exceptions applies.
See 28 U.S.C. § 1330(b); see also Atlantica I, 2 F. Supp. 3d at 559 n.5. The sole question raised
by Defendants is whether the Court’s exercise of personal jurisdiction over them is consistent
with due process.

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jurisdiction “there must be an affiliation between the forum and the underlying controversy,

principally, an activity or an occurrence that takes place in the forum State.” Id. at 1781.

Moreover, the Court stressed, “there must be an affiliation between the forum and the underlying

controversy” for each plaintiff. Id. (internal quotation marks omitted). “[T]he nonresidents,” the

Court explained, “were not prescribed Plavix in California, did not purchase Plavix in California,

did not ingest Plavix in California, and were not injured by Plavix in California. The mere fact

that other plaintiffs were prescribed, obtained, and ingested Plavix in California — and allegedly

sustained the same injuries as did the nonresidents — does not allow the State to assert specific

jurisdiction over the nonresidents’ claims.” Id.

       To the extent that the Due Process Clause applies here at all, (see 12-CV-8852, Docket

No. 114 (“Pls.’ Opp’n”), at 2 (citing Corporacion Mexicana de Mantenimiento Integral v.

Pemex-Exploracion y Produccion, 832 F.3d 92 (2d. Cir. 2016), for the proposition that S-K

Fund, as an instrumentality of a foreign state, is not entitled to due process)), it is the Due

Process Clause of the Fifth Amendment, not the Fourteenth Amendment. Nevertheless, Second

Circuit precedent “clearly establish[es]” that “the due process analysis for purposes of the court's

in personam jurisdiction is basically the same under both the Fifth and Fourteenth Amendments.

The principal difference is that under the Fifth Amendment the court can consider the defendant's

contacts throughout the United States, while under the Fourteenth Amendment only the contacts

with the forum state may be considered.” Waldman v. Palestine Liberation Org., 835 F.3d 317,

330 (2d Cir. 2016) (internal quotation marks, brackets, and citations omitted); see also SEC v.

Straub, 921 F. Supp. 2d 244, 253 (S.D.N.Y. 2013) (noting that where, as here, the Fifth

Amendment applies, “the minimum-contacts test . . . looks to contacts with the entire United

States rather than with the forum state” (internal quotation marks omitted)). Thus, the question



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in this case is whether each Defendant’s “suit-related conduct [has] create[d] a substantial

connection with” the United States. Walden v. Fiore, 134 S. Ct. 1115, 1121 (2014). Notably,

the analysis “looks to the defendant’s contacts with the forum . . . itself, not the defendant’s

contacts with persons who reside there.” Id. at 1122; accord BMS, 137 S. Ct. at 1779 (“The

primary focus of our personal jurisdiction inquiry is the defendant’s relationship to the forum

State.” (citing Walden, 134 S. Ct. at 1121-23; and Phillips Petroleum Co. v. Shutts, 472 U.S.

797, 806-07 (1985)).

       Foreign Plaintiffs satisfy those requirements here. Indeed, their residencies

notwithstanding, Foreign Plaintiffs are in no different a position, jurisdictionally speaking, from

the American Plaintiffs — with respect to whose claims Defendants no longer raise a personal

jurisdiction challenge. As the Court noted in its prior Opinion denying BTA Bank’s motion to

dismiss for lack of personal jurisdiction, Plaintiffs allege that BTA Bank “directed misstatements

and omissions . . . at Plaintiffs and their agents” in the United States; knew that representations

found in its Information Memorandum regarding the Bank’s financial condition would be

disseminated throughout the United States; mailed the Information Memorandum directly to

Plaintiffs’ brokers in Miami; offered securities for sale in the United States; denominated 80% of

the securities issued in connection with the 2010 Restructuring in U.S. dollars; and allowed the

Subordinated Notes to be offered in private, off-exchange transactions to facilitate transfers in

the U.S. market. Atlantica II, 2015 WL 144165, at *4-5 (internal quotation marks omitted). 3

Further, all Plaintiffs — including Foreign Plaintiffs — allege that they purchased the



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        Although personal jurisdiction must be established separately as to each Defendant, BTA
Bank’s statements and conduct may be attributed to S-K Fund for jurisdictional purposes given
Plaintiffs’ “control person” theory. See Atlantica Holdings, 813 F.3d at 107. Accordingly, the
Court need not separately consider the Defendants here.

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Subordinated Notes in off-exchange transactions on the U.S. market through their Miami

brokers. (12-CV-8852, Docket No. 14 (“S-K Fund Compl.”), ¶¶ 7-13, 31, 33; 13-CV-5790,

Docket No. 32 (“BTA Compl.”), ¶¶ 8-14, 36; see Pls.’ Opp’n 2). See Atlantica Holdings, 2017

WL 3731948, at *2. In light of those allegations, Foreign Plaintiffs are indistinguishable from a

nonresident plaintiff in BMS who could prove that she purchased Plavix from a pharmacy in

California. Nothing in the Supreme Court’s opinion suggests that the California courts could not

have exercised personal jurisdiction with respect to such a plaintiff’s claims, as the purchase of

Plavix in California would have provided the requisite “connection between the forum and the

specific claims at issue.” BMS, 137 S. Ct. at 1781. So too here, Plaintiffs — including Foreign

Plaintiffs — establish a sufficient “nexus” between their claims and Defendants’ contacts within

the United States. See, e.g., Chloé v. Queen Bee of Beverly Hills, LLC, 616 F.3d 158, 167 (2d

Cir. 2010) (noting that the “nexus” between a plaintiff’s claims and a defendant’s conduct

“merely requires the cause of action to ‘relate to’ defendant’s minimum contacts with the

forum”); see also, e.g., Walden, 134 S. Ct. at 1125 (“Regardless of where a plaintiff lives or

works, an injury is jurisdictionally relevant only insofar as it shows that the defendant has

formed a contact with the forum State.”).

       In arguing otherwise, Defendants contend that most of BTA Bank’s alleged contacts with

the United States represented “general conduct” unrelated to Plaintiffs specifically and thus has

“no bearing on the jurisdictional analysis.” (12-CV-8852, Docket No. 112 (“BTA Mem.”), at 9-

11, 13; see also 12-CV-8852, Docket No. 119 (“Joint Reply”), at 4-5, 7-8). A defendant’s

contacts with the relevant forum are not irrelevant, however, merely because they are directed at

the forum “generally” rather than the plaintiff specifically. That is, the relevant inquiry focuses

not on whether the defendant’s contacts are specifically targeted at a plaintiff in the forum, let



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alone on whether the defendant knows about the plaintiff’s presence in the forum, but rather on

whether a particular plaintiff’s claims relate to the defendant’s contacts with the forum. See

BMS, 137 S. Ct. at 1786; see also Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d

161, 170 (2d Cir. 2013) (noting that specific jurisdiction is established where a “claim arises out

of, or relates to, the defendant’s contacts with the forum”). Here, as discussed, Plaintiffs

establish the requisite nexus. In a similar vein, Defendants claim that, whatever minimum

contacts BTA Bank may have had with the United States, its conduct was directed at third

parties, not at Foreign Plaintiffs. (BTA Mem. 8, 12-13; Joint Reply 9-10). Those “third parties,”

however, include Plaintiffs’ broker. (BTA Mem. 12-13). Moreover, the fact that Foreign

Plaintiffs bought their Notes through their U.S.-based broker and not directly from BTA Bank

does not put them in the position of a BMS nonresident plaintiff who bought Plavix from a “third

party” out-of-state pharmacy that may or may not have obtained its product from a California-

based wholesaler. See BMS, 137 S. Ct. at 1783. Instead, it puts them in the position of a

nonresident plaintiff who purchased Plavix from a “third party” pharmacy in California, as to

whom, again, the California courts could have exercised specific jurisdiction. See id. at 1781.

                                         CONCLUSION

       For the reasons stated above, Defendants’ motion for reconsideration and renewed

motion to dismiss are DENIED. 4 Per the Court’s Opinion and Order entered on August 29, 2017

(12-CV-8852, Docket No. 113; 13-CV-5790, Docket No. 158), the parties shall submit their

proposed Joint Pretrial Order and related pretrial materials within thirty days of this Opinion and

Order. Further, the parties should promptly meet and confer to discuss settlement and advise the


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        In light of this conclusion, the Court need not and does not reach Plaintiffs’ alternative
arguments, including the argument that Defendants’ motions are untimely under Local Rule 6.3.
(Pls.’ Opp’n 8-9).

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Court if there is anything the Court can do to facilitate settlement, such as referral to the assigned

Magistrate Judge for settlement purposes or referral to the Court-annexed mediation program.

       The Clerk of Court is directed to terminate Docket Nos. 107 and 111 in 12-CV-8852, and

Docket No. 154 in 13-CV-5790.


       SO ORDERED.

Dated: February 15, 2018
       New York, New York




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